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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

In re: Vioxx® MDL Docket No. 1657
Product Liability Litigation
SECTION L
This document relates to:
Melrose Stewart, et al. JUDGE FALLON

v.
Merck & Co., Inc., et al. MAGISTRATE JUDGE KNOWLES
Only with regard to:

Irene Soffer, as administratrix of the
estate of Leonard Abrams, and
Ethel Abrams, individually

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Docket No. 2:05-cv-05177

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ORDER OF DISMISSAL WITH PREJUDICE
Considering the foregoing Stipulation of Dismissal With Prejudice,
IT IS ORDERED that the claims of plaintiffs Irene Soffer, as administratrix of the estate
of Leonard Abrams, and Ethel Abrams, individually, in the above-captioned case be and they
hereby are dismissed with prejudice with each party to bear his or her own costs.

NEW ORLEANS, LOUISIANA, this day of , 2010.

DISTRICT JUDGE
